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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS

 ANDREW PERRONG on behalf of                       :
 himself and others similarly situated,            :
                                                   :
          Plaintiff,                               :   Case No. 19-CV-3871
                                                   :
 v.                                                :
                                                   :
                                                   :
 PROSPER TRADING ACADEMY, LLC,                     :
 and SCOTT BAUER                                   :
                                                   :
          Defendants.                              :
                                               /

                                 CLASS ACTION COMPLAINT

                                 PRELIMINARY STATEMENT

         1.      Plaintiff Andrew Perrong (“Plaintiff”) brings this action to enforce the consumer-

privacy provisions of the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227, a

federal statute enacted in 1991 in response to widespread public outrage about the proliferation

of intrusive, nuisance telemarketing practices. See Mims v. Arrow Fin. Servs., LLC, 132 S. Ct.

740, 745 (2012).

         2.      The Plaintiff alleges that Prosper Trading Academy, LLC (“Prosper Trading

Academy”), as authorized by its Chief Executive Officer, Scott Bauer, sent automated text

message calls to consumers’ cellular telephone numbers, including the Plaintiff’s, which is

prohibited by the TCPA. The calls were also made to some individuals despite their presence on

the National Do Not Call Registry. Furthermore, this Complaint relates to Prosper Trading

Academy’s conduct of making telemarketing calls to individuals in the absence of any “do not

call” policy or training, as well as making such calls to individuals who previously indicated that
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they no longer wanted to be contacted, and to otherwise obtain injunctive and monetary relief for

all persons injured by their conduct.

       3.      The Plaintiff never consented to receive the calls, which were placed to him for

telemarketing purposes. Because telemarketing campaigns generally place calls to hundreds of

thousands or even millions of potential customers en masse, the Plaintiff brings this action on

behalf of a proposed nationwide class of other persons who received illegal telemarketing calls

from or on behalf of Defendants.

       4.      A class action is the best means of obtaining redress for the Defendants’ wide

scale illegal telemarketing and is consistent both with the private right of action afforded by the

TCPA and the fairness and efficiency goals of Rule 23 of the Federal Rules of Civil Procedure.

                                            PARTIES

       5.      Plaintiff Andrew Perrong resides in Pennsylvania.

       6.      Defendant Prosper Trading Academy, LLC is a Delaware limited liability

company with its principal place of business at 111 W. Jackson Blvd., Suite 1122 in Chicago, IL

60604. Prosper Trading Academy has a registered agent of Duggan Bertsch, LLC located at 303

W. Madison St., Suite 1000 in Chicago, IL 60606.

       7.      Defendant Scott Bauer is the Chief Executive Officer of Prosper Trading

Academy and is an Illinois resident.

                                    JURISDICTION & VENUE

       8.      The Court has federal question subject matter jurisdiction over these TCPA

claims. Mims v. Arrow Financial Services, LLC, 132 S. Ct. 740 (2012).

       9.      Venue is also proper pursuant to 28 U.S.C. § 1391(b)(1) because Prosper Trading

Academy resides in this District.




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       10.       Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) because a substantial part of

the events or omissions giving rise to the claim occurred in this District as the telemarketing calls

at issue that gave rise to the Plaintiff’s claims were directed from and/or occurred in this District.

                    THE TELEPHONE CONSUMER PROTECTION ACT

         11.     In 1991, Congress enacted the TCPA to regulate the explosive growth of the

 telemarketing industry. In so doing, Congress recognized that “[u]nrestricted telemarketing . . .

 can be an intrusive invasion of privacy [.]” Telephone Consumer Protection Act of 1991, Pub. L.

 No. 102-243, § 2(5) (1991) (codified at 47 U.S.C. § 227).

 The TCPA Prohibits Automated Telemarketing Calls to Cellular Telephones

         12.    The TCPA makes it unlawful “to make any call (other than a call made for

 emergency purposes or made with the prior express consent of the called party) using an

 automatic telephone dialing system or an artificial or prerecorded voice … to any telephone

 number assigned to a … cellular telephone service.” See 47 U.S.C. § 227(b)(1)(A)(iii).

         13.    The TCPA provides a private cause of action to persons who receive calls in

 violation of 47 U.S.C. § 227(b)(1)(A). See 47 U.S.C. § 227(b)(3).

         14.    In enacting the TCPA, Congress expressly found that “[u]nrestricted

 telemarketing… can be an intrusive invasion of privacy[,]… consumers are outraged over the

 proliferation of intrusive, nuisance calls to their homes from telemarketers[,],… [e]vidence

 compiled by the Congress indicates that residential telephone subscribers consider automated or

 prerecorded telephone calls, regardless of the content or the initiator of the message, to be a

 nuisance and an invasion of privacy[,]… [and that] [b]anning such automated or prerecorded

 telephone calls to the home, except when the receiving party consents to receiving the call or

 when such calls are necessary in an emergency situation affecting the health and safety of the




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consumer, is the only effective means of protecting telephone consumers from this nuisance and

privacy invasion.”

       15.     In enacting the TCPA, Congress gave the Federal Communications Commission

(“FCC”) the power to prescribe regulations to implement the TCPA.

       16.     In 2013, the FCC prescribed a regulation requiring prior express written consent

for all autodialed or prerecorded calls (“robocalls”) which include or introduce an advertisement

or which constitutes telemarketing to wireless numbers. Specifically, it required:

       “[A]n agreement, in writing, bearing the signature of the person called that clearly
       authorizes the seller to deliver or cause to be delivered to the person called
       advertisements or telemarketing messages using an automatic telephone dialing
       system or an artificial or prerecorded voice, and the telephone number to which
       the signatory authorizes such advertisements or telemarketing messages to be
       delivered.

       (i) The written agreement shall include a clear and conspicuous disclosure
       informing the person signing that:

       (A) By executing the agreement, such person authorizes the seller to deliver or
       cause to be delivered to the signatory telemarketing calls using an automatic
       telephone dialing system or an artificial or prerecorded voice; and

       (B) The person is not required to sign the agreement (directly or indirectly), or
       agree to enter into such an agreement as a condition of purchasing any property,
       goods, or services.

47 C.F.R. §§ 64.1200(a)(2) and (f)(8).

       17.     A text message is a “call” for purposes of the TCPA.

The TCPA’s Requirement to Have Sufficient Policies In Order to
Honor Requests to Stop Contacting Individuals


       18.     The TCPA specifically required the FCC to “initiate a rulemaking proceeding

concerning the need to protect residential telephone subscribers’ privacy rights to avoid

receiving telephone solicitations to which they object.” 47 U.S.C. § 227(c)(1).




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        19.     The FCC was instructed to “compare and evaluate alternative methods and

procedures (including the use of … company-specific “do not call systems” and “develop

proposed regulations to implement the methods and procedures that the Commission determines

are most effective and efficient to accomplish purposes of this section.” Id. at (c)(1)(A), (E).

        20.     Pursuant to this statutory mandate, the FCC established company-specific “do not

call” rules that every company engaging in telemarketing is required to comply with. In the

Matter of Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991,

7 FCC Rcd. 8752 (1992) (“TCPA Implementation Order”).

        21.     The FCC found that “the company-specific do-not-call list alternative is the most

effective and efficient means to permit telephone subscribers to avoid unwanted telephone

solicitations.” Id. at 8765, ¶ 23.

        22.     However, recognizing that an honor system would probably be insufficient, the

FCC found that it “must mandate procedures for establishing company-specific do-not-call lists

to ensure effective compliance with and enforcement of the requirements for protecting

consumer privacy.” Id. at ¶ 24.

        23.     It accordingly placed the burden on telemarketers to implement and prove the

implementation of their compliance procedures.

        24.     These regulations are codified at 47 CFR 64.1200(d)(1)-(6).

        25.     Specifically, these regulations require a company to keep a written policy,

available upon demand, for maintaining a do-not-call list, train personnel engaged in

telemarketing on the existence and use of its internal do-not-call list, and record and honor “do

not call” requests for no less than five years from the time the request is made. 47 CFR

64.1200(d)(1, 2, 3, 6).




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         26.    The regulations also require “[a] person or entity making a call for telemarketing

purposes must provide the called party with the name of the individual caller, the name of the

person or entity on whose behalf the call is being made, and a telephone number or address at

which the person or entity can be contacted.” 47 C.F.R. 64.1200(d)(4).

         27.    The regulations prohibit a company from making telemarketing calls unless they

have implemented these policies and procedures. 47 CFR 64.1200(d).

         28.    Accordingly, all telemarketing calls violate the TCPA, unless Defendant can

demonstrate that it has implemented the required policies and procedures.

The National Do Not Call Registry

         29.    The National Do Not Call Registry allows consumers to register their telephone

numbers and thereby indicate their desire not to receive telephone solicitations at those numbers.

See 47 C.F.R. 64.1200(c)(2).

         30.    A listing on the Registry “must be honored indefinitely, or until the registration is

cancelled by the consumer or the telephone number is removed by the database administrator.”

Id.

         31.    The TCPA and implementing regulations prohibit the initiation of telephone

solicitations to residential telephone subscribers to the Registry and provides a private right of

action against any entity that makes those calls, or “on whose behalf” such calls are made. 47

U.S.C. § 227(c)(5); 47 C.F.R. 64.1200(c)(2).

Individual Liability under the TCPA

         32.    Under the TCPA, an individual may be personally liable for the acts alleged in

this Complaint pursuant to 47 U.S.C. § 217 of the TCPA, which reads, inter alia:

         [T]he act, omission, or failure of any officer, agent, or other person acting for or
         employed by any common carrier or user, acting within the scope of his



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       employment, shall in every case be also deemed to be the act, omission, or failure
       of such carrier or user as well as of that person.

47. U.S.C. § 217.

       33.     When considering individual officer liability, other Courts have agreed that a

corporate officer involved in the telemarketing at issue may be personally liable under the

TCPA. See, e.g., Jackson Five Star Catering, Inc. v. Beason, No. 10-10010, 2013 U.S. Dist.

LEXIS 159985, *10 (E.D. Mich. Nov. 8, 2013) (“[M]any courts have held that corporate actors

can be individually liable for violating the TCPA where they had direct, personal participation in

or personally authorized the conduct found to have violated the statute.”) (internal citation

omitted); Maryland v. Universal Elections, 787 F. Supp. 2d 408, 415-16 (D. Md. 2011) (“If an

individual acting on behalf of a corporation could avoid individual liability, the TCPA would

lose much of its force.”).

       34.     This is consistent with the general tort principle that corporate officers or agents

are personally liable for those torts which they personally commit, or which they direct or

participate in, even though performed in the name of a company.

       35.     Here, Mr. Bauer both personally participated in and authorized the automated

telemarketing conduct.

The Growing Problem of Automated Calls

       36.     When Congress enacted the TCPA in 1991, it found that telemarketers called

more than 18 million Americans every day. 105 Stat. 2394 at § 2(3).

       37.     By 2003, telemarketers were calling 104 million Americans every day, abetted by

the proliferation of new and more powerful autodialing technology. In re Rules and Regulations

Implementing the TCPA of 1991, 18 FCC Rcd. 14014, ¶¶ 2, 8 (2003).




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         38.     Unfortunately, the problems Congress identified when it enacted the TCPA have

only grown worse in recent years.

         39.     Industry data shows that the number of robocalls made each month increased

from 831 million in September 2015 to 4.7 billion in December 2018—a 466% increase in three

years.

         40.     According to online robocall tracking service “YouMail,” 5.2 billion robocalls

were placed in March 2019 at a rate of 168.8 million per day. www.robocallindex.com (last

visited April 9, 2019). YouMail estimates that in 2019 robocall totals will exceed 60 billion. See

id.

         41.     The FCC also has received an increasing number of complaints about unwanted

calls, with 150,000 complaints in 2016, 185,000 complaints in 2017, and 232,000 complaints in

2018. FCC, Consumer Complaint Data Center, www.fcc.gov/consumer-help-center-data (last

visited April 10, 2019).

                                   FACTUAL ALLEGATIONS

         42.     Prosper Trading Academy sells investment related services to individuals.

         43.     To generate business, Prosper Trading Academy relies on telemarketing.

         44.     Prosper Trading Academy’s telemarketing includes sending automated calls and

text messages.

         45.     Plaintiff is, and at all times mentioned herein was, a “person” as defined by

47 U.S.C. § 153(39).

         46.     Mr. Perrong’s telephone number, (215) 208-XXXX, is a cellular telephone

number.




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       47.     Mr. Perrong’s telephone number, (215) 208-XXXX, is on the National Do Not

Call Registry, and had been for years prior to the contact at issue.

       48.     Mr. Perrong’s telephone number, (215) 208-XXXX, is for personal use and has

never been associated with a business.

       49.     On July 6, 2018 Mr. Perrong contacted Prosper Trading Academy via text

message in response to an advertisement for a “free stock tip”.

       50.     Mr. Perrong was sent the following automated text message on July 6, 2018:

                          PT: We’re currently looking to buy Etsy. ETSY at 43.37. Learn why
                          800.764.7131 REPLY YES to receive SMS from propsertrading.com

       51.     The call was made from the SMS Code 48542.

       52.     After receiving the text on July 6, 2018, Mr. Perrong never used the company’s

services.

       53.     Mr. Perrong also never consented to receive any text messages beyond the

promised “stock tip” message.

       54.     The Plaintiff did not reply YES to receive SMS from prospertrading.com.

       55.     Instead, the Plaintiff replied “STOP”.

       56.     The Plaintiff received a response “we will stop sending you”.

       57.     After that, Mr. Perrong never provided his written permission to receive further

text messages or calls.

       58.     However, the Defendants did not stop.

       59.     The Plaintiff received the following text message on May 20, 2019:

                          New China 'Trade War' developments... We're revealing tactics to win off
                          these movements at a live webinar this week. Reply "JOIN" to reserve
                          your free seat now




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       60.     This text message was sent at 10:02 PM EST, which is later than solicitation

conduct is permitted to a telephone.

       61.     The Plaintiff received another text message on May 22, 2019:

                       T-minus One Hour until our live webinar revealing deadly accurate
                       strategies to win during these Tariff TRADE WARS... Reply "JOIN" to
                       reserve your seat now.

       62.     The fact that the May 2019 text messages used a generic script and were not

personalized means that they appear to be sent en masse.

       63.     These facts support the Plaintiff’s allegation that the calls were made using an

“Automatic Telephone Dialing System,” as that term is defined by the TCPA.

       64.     The May 2019 text messages did not identify the company sending the text

message.

       65.     The May 2019 text messages did not provide any way for the recipient to opt out

of future messages.

       66.     The May 2019 text messages were sent even though Mr. Perrong opted out by

way of the 2018 text message, and had his opt-out confirmed.

       67.     Plaintiff and the other call recipients were harmed by these calls. They were

temporarily deprived of legitimate use of their phones because the phone line was tied up, they

were charged for the calls, their telephone batteries were depleted, their limited storage space

was utilized, and their privacy was improperly invaded.

       68.     Moreover, these calls injured plaintiff because they were frustrating, obnoxious,

annoying, were a nuisance and disturbed the solitude of plaintiff and the class.


                              CLASS ACTION ALLEGATIONS




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       69.     As authorized by Rule 23(b)(2) and/or (b)(3) of the Federal Rules of Civil

Procedure, Plaintiff brings this action on behalf of a classes of all other persons or entities

similarly situated throughout the United States.

       70.     The classes of persons Plaintiff proposes to represent are tentatively defined as:

       Autodialed Class: All persons within the United States to whom: (1) Defendants and/or
       a third party acting on their behalf, made one or more non-emergency telephone calls; (2)
       to their cellular telephone number; (3) using the telephone system(s) used in calling
       Plaintiff cellular telephone number; and (4) at any time in the period that begins four
       years before the date of the filing of this Complaint to trial.

       National Do Not Call Registry Class: All persons in the United States who, from
       four years prior to the filing of this action: (1) Defendants (or an agent acting on
       behalf of Defendants) made (2) two or more telemarketing calls (3) promoting
       Defendants’ products or services; (4) to a residential phone number that was listed
       on the National Do Not Call Registry for at least 30 days before the first call; and
       (5) within any twelve-month period.

       Internal DNC Class: All persons in the United States who from four years prior
       to the filing of this action: (1) Defendants (or an agent acting on behalf of
       Defendants) called (2) on their residential line (3) more than two times in a 12-
       month period (4) for substantially the same reason Defendants called Plaintiff
       Perrong.


Excluded from the classes are the Defendants, and any entities in which the Defendants have a

controlling interest, the Defendants’ agents and employees, any judge to whom this action is

assigned and any member of such judge’s staff and immediate family.

       71.     The Classes as defined above are identifiable through phone records and phone

number databases.

       72.     The potential Classes’ members number at least in the thousands, since automated

telemarketing campaigns make calls to hundreds or thousands of individuals a day. Individual

joinder of these persons is impracticable.

       73.     Plaintiff is a member of the proposed Classes.




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          74.   There are questions of law and fact common to Plaintiff and to the proposed

Classes, including but not limited to the following:

                a. Whether Defendants violated the TCPA by using automated calls to contact

putative Class members’ cellular telephones;

                b. Whether Defendants placed calls without obtaining the recipients’ prior

express written consent for the call;

                c. Whether the Plaintiff and the Classes’ members are entitled to damages in the

amounts liquidated by the TCPA because of Defendant’ actions.

          75.   Plaintiff’s claims are typical of the claims of the Classes’ members. Plaintiff’s

claims, like the claims of the Classes, arise out of the same common course of conduct by

Defendants and are based on the same legal and remedial theories.

          76.   Plaintiff is an adequate representative of the Classes because his interests do not

conflict with the interests of the classes, he will fairly and adequately protect the interests of the

Classes, and he is represented by counsel skilled and experienced in class actions, including

TCPA class actions.

          77.   Common questions of law and fact predominate over questions affecting only

individual Classes’ members. The only individual question concerns identification of Classes’

members, which will be ascertainable from records maintained by Defendants and/or their

agents.

          78.   Class treatment is superior to multiple individual suits or piecemeal litigation

because it conserves judicial resources, promotes consistency and efficiency of adjudication,

provides a forum for small claimants, and deters illegal activities. There will be no significant

difficulty in the management of this case as a classes action.




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       79.      The likelihood that individual members of the classes will prosecute separate

actions is remote due to the time and expense necessary to prosecute an individual case.

       80.      Plaintiff is not aware of any litigation concerning this controversy already

commenced by others who meet the criteria for classes membership described above.


                                      CAUSES OF ACTION

                                         Count One:
                    Violation of the TCPA’s Automated Calling provisions
                       (On behalf of Plaintiff and the Autodialed Class)
                     (Against Prosper Trading Academy and Mr. Bauer)

       81.      Plaintiff incorporates the allegations from all previous paragraphs as if fully set

forth herein.

       82.      The foregoing acts and omissions of Defendants and/or its affiliates, agents,

and/or other persons or entities acting on Defendants’ behalf constitute numerous and multiple

violations of the TCPA, 47 U.S.C. § 227, by making calls, except for emergency purposes, to the

cellular telephone numbers of Plaintiff and members of the Autodialed Class using an ATDS

and/or artificial or prerecorded voice.

       83.      As a result of Defendants’ and/or its affiliates, agents, and/or other persons or

entities acting on Defendants’ behalf’s violations of the TCPA, 47 U.S.C. § 227, Plaintiff and

members of the Autodialed Class presumptively are entitled to an award of $500 in damages for

each and every call made to their cellular telephone numbers using an ATDS and/or artificial or

prerecorded voice in violation of the statute, pursuant to 47 U.S.C. § 227(b)(3)(B). The Court

may award up to $1,500 if the violation was found to be “willful or knowing”.

       84.      Plaintiff and members of the Autodialed Class are also entitled to and do seek

injunctive relief prohibiting Defendants and/or its affiliates, agents, and/or other persons or

entities acting on Defendants’ behalf from violating the TCPA, 47 U.S.C. § 227, by making


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calls, except for emergency purposes, to any cellular telephone numbers using an ATDS and/or

artificial or prerecorded voice in the future.

       85.        The Defendants’ violations were negligent and/or knowing.

                                             Count Two:
                             Violation of the TCPA’s DNC provisions
                (On behalf of Plaintiff and the National Do Not Call Registry Class)
                       (Against Prosper Trading Academy and Mr. Bauer)

       86.        Plaintiff incorporates the allegations from all previous paragraphs as if fully set

forth herein.

       87.        The Defendants violated the TCPA by (a) initiating telephone solicitations to

persons and entities whose telephone numbers were listed on the Do Not Call Registry, or (b) by

the fact that others made those calls on its behalf. See 47 U.S.C. § 227(c); 47 C.F.R.

64.1200(c)(2).

       88.        The Defendants’ violations were negligent and/or knowing.

       89.        As a result of the Defendants’ violations of the TCPA, 47 U.S.C. § 227(c)(5),

Plaintiff and members of the National Do Not Call Registry Class are entitled of an award of up

to $500 in damages for each call made in violation of this section. The Court may award up to

$1,500 if the violation was found to be “willful or knowing”.

       90.        Plaintiff and members of the National Do Not Call Registry Class are also entitled

to and do seek injunctive relief prohibiting Defendants and/or its affiliates, agents, and/or other

persons or entities acting on Defendants’ behalf from making calls advertising their goods or

services, except for emergency purposes, to any number on the National Do Not Call Registry.

                                           Count Three:
                        Violation of the TCPA’s Internal DNC Provisions
                   (On Behalf of Plaintiff Perrong and the Internal DNC Class)
                      (Against Prosper Trading Academy and Mr. Bauer)




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          91.    Defendants placed two or more telemarketing calls to Plaintiff and Internal DNC

Class Members’ telephone numbers.

          92.    Defendants did so despite not having a written policy pertaining to “do not call”

requests.

          93.    Defendants did so despite not training its personnel on the existence or use of any

internal “do not call” list.

          94.    Defendants did so despite not recording or honoring “do not call” requests.

          95.    Defendants’ violations were negligent and/or knowing.

          96.    Accordingly, Plaintiff and Internal DNC Class Members are entitled to an award

of $500 in statutory damages for each violative telephone call pursuant to 47 U.S.C. § 227(c)(5).

          97.    Plaintiff and Internal DNC Class Members are entitled to an award of treble

damages in an amount up to $1,500 telephone call, pursuant to 47 U.S.C. § 227(c)(5).


                                            Relief Sought

          WHEREFORE, for himself and all Classes’ members, Plaintiff request the following

relief:

          A.     Injunctive relief prohibiting Defendants from calling telephone numbers

advertising their goods or services, except for emergency purposes, to any number on the

National Do Not Call Registry or to any cellular telephone numbers using an ATDS and/or

artificial or prerecorded voice in the future.

          B.     An order enjoining Defendants and/or its affiliates, agents, and/or other persons

or entities acting on Defendants’ behalf from in the future making unsolicited autodialed calls,

except for emergency purposes, to any cellular telephone number, pre-recorded voice calls, and




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other calls to consumers without implementing adequate policies and procedures for maintaining

an internal do not call list;

        C.      Because of Defendants’ violations of the TCPA, Plaintiff seeks for himself and

the other putative Classes’ members $500 in damages for each violation or—where such

regulations were willfully or knowingly violated—up to $1,500 per violation, pursuant to 47

U.S.C. § 227(b)(3) and (c)(5).

        D.      An order certifying this action to be a proper class action under Federal Rule of

Civil Procedure 23, establishing any appropriate classes the Court deems appropriate, finding

that Plaintiff is proper representative of the Classes, and appointing the lawyers and law firms

representing Plaintiff as counsel for the Classes;

        E.      Such other relief as the Court deems just and proper.

        Plaintiff requests a jury trial as to all claims of the complaint so triable.




                            [SIGNATURE ON FOLLOWING PAGE]




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    Dated this 10th day of June, 2019.

                                            Respectfully submitted,

                                            HANSEN REYNOLDS LLC

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